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                             Exhibit A
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 Founding Partner
 Van Der Hout LLP
 360 Post Street, Suite 800
 San Francisco, CA 94108
 Main Line: 415-981-3000
 www.vblaw.com

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 distribution by others is prohibited. If you are not the intended recipient, please contact me and delete all copies.
 Thank you.




 From: Acuna, Brian S <                            >
 Sent: Thursday, June 12, 2025 11:23 AM
 To:
 Cc: Johnny Sinodis <j                 ; Oona Cahill                   >; Nora Ahmed
 <                      >; Marc @ Home <j                            >; Ladwig, Scott G
                               >; Hartnett, John <                          >; Miller, Alice M
                              >
 Subject: RE: M. Khalil,              Request to confirm time for release on Friday and the
 withdrawal of the charge under INA 237(a)(4)(C) (readnow for Marc's filtering))

 Thank you for clarifying. I have no information your client will be released or a time for that. We are
 asking on legal matters to first directly contact our Office of the Chief Counsel, for which I will make
 sure you have an appropriate POC. I added our Chief Counsel for visibility.

 Brian S. Acuna
 Acting Field Office Director
 New Orleans Field Office

 Enforcement and Removal Operations
 U.S. Immigration and Customs Enforcement
 c: (

 From: Marc Van Der Hout <                          >
 Sent: Thursday, June 12, 2025 1:16 PM
 To: Acuna, Brian S <                                   >; Ladwig, Scott G                                     >
Case 2:25-cv-01963-MEF-MAH                   Document 302             Filed 06/13/25          Page 4 of 6 PageID:
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 Cc: Johnny Sinodis                 >; Oona Cahill <                  >; Nora Ahmed
 <N                     >; Marc @ Home
 Subject: RE: M. Khalil,             Request to confirm time for release on Friday and the
 withdrawal of the charge under INA 237(a)(4)(C) (readnow for Marc's filtering))

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 and/or trust the sender. Please use the Cofense Report Phishing button to report. If the button is not present, click
 here and follow instructions.


 Thanks for the quick response, Brian. Yes, we are aware the District Court
 order does not go into effect until 9:30 a.m. CT tomorrow. I was, and am,
 writing to ask about tomorrow what time he might be available to be released.

 Marc

 Marc Van Der Hout
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 Thank you.




 From: Acuna, Brian S <                           >
 Sent: Thursday, June 12, 2025 3:04 AM
 To: Marc Van Der Hout <                  >; Ladwig, Scott G <                           >
 Cc: Johnny Sinodis <                >; Oona Cahill <                 >; Nora Ahmed
                        >; Marc @ Home                              >
 Subject: RE: M. Khalil,             Request to confirm time for release on Friday and the
 withdrawal of the charge under INA 237(a)(4)(C) (readnow for Marc's filtering))
Case 2:25-cv-01963-MEF-MAH   Document 302   Filed 06/13/25   Page 5 of 6 PageID:
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Case 2:25-cv-01963-MEF-MAH                   Document 302            Filed 06/13/25          Page 6 of 6 PageID:
                                                   3646


 Sincerely,  


 Marc Van Der Hout
 Founding Partner
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 San Francisco, CA 94108
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 Thank you.
